                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Kathryne Preston,                                                        Court File No.:
                                                                                 Judge:
                Plaintiff,
v.
                                                       NOTICE OF AND PETITION
Menard, Inc.,                                              FOR REMOVAL

                Defendant.


TO:     THE UNITED STATES DISTRICT COURT, DISTRICT OF MINNESOTA

        Defendant Menard, Inc., a Wisconsin corporation, respectfully states to the court

that:

     1. Menard, Inc. is a Defendant in a civil action venued in district court in the State of

        Minnesota, County of Hennepin, Fourth Judicial District, entitled Kathryne

        Preston v. Menard, Inc.

     2. Defendant Menard, Inc. received notice of this action when it was served with

        Plaintiff’s Summons and Complaint on July 6, 2020.

     3. Menard, Inc. is a Wisconsin corporation, with its principal place of business in the

        State of Wisconsin.

     4. Upon information and belief, Kathryne Preston is a resident of the State of

        Minnesota.

     5. The above-described state court action is a civil action that is properly removable

        to United States District Court by Defendant Menard, Inc.
6. The United States District Court has original jurisdiction over this matter under 28

   U.S.C. § 1332(a) because there is complete diversity of citizenship between

   Plaintiffs and Defendants. According to Plaintiff’s counsel, the total amount in

   controversy in this case exceeds $75,000.00. See Kopp v. Kopp, 280 F.3d 883,

   885 (8th Cir. 2002).

7. The United States District Court for the District of Minnesota is the district

   embracing the place where this action is pending, and Defendant Menard, Inc. is

   not a corporation headquartered or with its principal place of business in the State

   of Minnesota. Therefore, the civil action described above may be removed to

   United States District Court pursuant to 28 USC § 1441(b) and 28 U.S.C. §

   1446(a).

8. This Notice of Removal is being filed within 30 days after Menard, Inc. received

   notice that complete diversity exists. Accordingly, this Notice of Removal is

   timely filed pursuant to 28 U.S.C. section 1446(b).

9. Written notice of the filing of this Notice of and Petition for Removal has been

   served upon Plaintiff’s counsel.

10. Pursuant to 28 U.S.C. section 1446(a), a true and legible copy of all process,

   pleadings and orders served in the State Court Action as of this date are attached

   hereto as Exhibit A.

11. A Notice of Filing of Defendant’s Notice of and Petition for Removal has been

   filed with the Clerk of Court, Hennepin County, Fourth Judicial District, State of

   Minnesota. (Exhibit B, attached, without exhibits.)

                                         2
   12. Undersigned counsel represents Menard, Inc. in this action and is authorized to

      state that Menard, Inc. expressly consents to the removal of the State Court Action

      to this Court.

      WHEREFORE, Defendant requests that the above action pending against it in the

State of Minnesota, County of Hennepin, Fourth Judicial District, be removed therefrom

to the United States District Court and proceed in United States District Court as an

action properly removed therein.


Dated: July 24, 2020                           /s/Steven E. Tomsche
                                        Steven E. Tomsche, Esq. (#190561)
                                        Kelly P. Magnus, Esq. (#0397569)
                                        TOMSCHE, SONNESYN & TOMSCHE, P.A.
                                        8401 Golden Valley Road, Suite 250
                                        Minneapolis, MN 55427
                                        T: (763) 521-4499
                                        E: stomsche@tstlaw.com
                                           kmagnus@tstlaw.com
                                        Attorneys for Defendant




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